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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                   No. 4:13CR00068-01 JLH

KENNETH EUGENE BROWN, II                                                          DEFENDANT

                                            ORDER

       Counsel for defendant has contacted the Court by email and requested a continuance of the

sentencing hearing set for this date. Counsel was unable to file a motion due to complications in

filing with CM/ECF. Without objection from the government, the request is granted and the

sentencing hearing previously scheduled for 2:30 p.m. today is cancelled.

       The sentencing hearing for defendant Kenneth Eugene Brown, II, is hereby rescheduled for

THURSDAY, MAY 28, 2015, at 2:30 P.M., in Courtroom #4-D, Richard Sheppard Arnold United

States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

       IT IS SO ORDERED this 14th day of May, 2015.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
